              Case 23-51315-pwb                   Doc 1     Filed 02/08/23 Entered 02/08/23 13:49:08                               Desc Main
                                                            Document     Page 1 of 35

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Miller Concrete Construction and Associates LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1681 Nordic Trace
                                  Marietta, GA 30068
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cobb                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case 23-51315-pwb                     Doc 1        Filed 02/08/23 Entered 02/08/23 13:49:08                                      Desc Main
                                                                 Document     Page 2 of 35
Debtor    Miller Concrete Construction and Associates LLC                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 1542

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
               Case 23-51315-pwb                        Doc 1        Filed 02/08/23 Entered 02/08/23 13:49:08                                 Desc Main
                                                                     Document     Page 3 of 35
Debtor    Miller Concrete Construction and Associates LLC                                                 Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      Stanley Austin Miller                                         Relationship               Sole Member
                                                                 Northern District of
                                                     District    Georgia                      When      1/29/23                Case number, if known      23-50879


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
             Case 23-51315-pwb           Doc 1        Filed 02/08/23 Entered 02/08/23 13:49:08                      Desc Main
                                                      Document     Page 4 of 35
Debtor   Miller Concrete Construction and Associates LLC                             Case number (if known)
         Name


16. Estimated liabilities     $0 - $50,000                               $1,000,001 - $10 million             $500,000,001 - $1 billion
                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
              Case 23-51315-pwb                 Doc 1       Filed 02/08/23 Entered 02/08/23 13:49:08                                 Desc Main
                                                            Document     Page 5 of 35
Debtor    Miller Concrete Construction and Associates LLC                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 6, 2023
                                                  MM / DD / YYYY


                             X   /s/ Stanley Austin Miller                                                Stanley Austin Miller
                                 Signature of authorized representative of debtor                         Printed name

                                         President, Sole Member, Sole Owner,
                                 Title   Registered Agent




18. Signature of attorney    X   /s/ Danny Coleman, MBA, Atty                                              Date February 6, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Danny Coleman, MBA, Atty 177427
                                 Printed name

                                 Coleman Legal Group, LLC
                                 Firm name

                                 11539 Park Woods Circle
                                 Suite 304
                                 Alpharetta, GA 30005
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (770) 282-7470                Email address      attorney@dcolemanlaw.com

                                 177427 GA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
          Case 23-51315-pwb                   Doc 1       Filed 02/08/23 Entered 02/08/23 13:49:08                             Desc Main
                                                          Document     Page 6 of 35




Fill in this information to identify the case:

Debtor name         Miller Concrete Construction and Associates LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF GEORGIA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       February 6, 2023                X /s/ Stanley Austin Miller
                                                           Signature of individual signing on behalf of debtor

                                                            Stanley Austin Miller
                                                            Printed name

                                                            President, Sole Member, Sole Owner, Registered Agent
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
             Case 23-51315-pwb                                    Doc 1             Filed 02/08/23 Entered 02/08/23 13:49:08                                                           Desc Main
                                                                                    Document     Page 7 of 35
 Fill in this information to identify the case:

 Debtor name            Miller Concrete Construction and Associates LLC

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            23,560.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            23,560.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $            48,655.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           724,933.17


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             773,588.17




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
          Case 23-51315-pwb                 Doc 1      Filed 02/08/23 Entered 02/08/23 13:49:08                        Desc Main
                                                       Document     Page 8 of 35
Fill in this information to identify the case:

Debtor name      Miller Concrete Construction and Associates LLC

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF GEORGIA

Case number (if known)
                                                                                                                        Check if this is an
                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
   All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                        debtor's interest

Part 2:      Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.


Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.


Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                             page 1
           Case 23-51315-pwb                  Doc 1       Filed 02/08/23 Entered 02/08/23 13:49:08                      Desc Main
                                                          Document     Page 9 of 35
Debtor        Miller Concrete Construction and Associates LLC                           Case number (If known)
              Name


      Yes Fill in the information below.


Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

           General description                                        Net book value of         Valuation method used   Current value of
           Include year, make, model, and identification numbers      debtor's interest         for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                              (Where available)

47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.    2019 GMC Sierra SLT 92,000 miles
                    Location: 1681 Nordic Trace, Marietta,
                    GA 30068                                                     Unknown        Comparable sale                   $23,500.00



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Three (3) Shovels                                                          $0.00     Replacement                            $60.00



51.        Total of Part 8.                                                                                                   $23,560.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                    page 2
           Case 23-51315-pwb                 Doc 1       Filed 02/08/23 Entered 02/08/23 13:49:08                   Desc Main
                                                        Document      Page 10 of 35
Debtor       Miller Concrete Construction and Associates LLC                               Case number (If known)
             Name


      Yes Fill in the information below.


Part 11:     All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                            page 3
            Case 23-51315-pwb                            Doc 1           Filed 02/08/23 Entered 02/08/23 13:49:08                                        Desc Main
                                                                        Document      Page 11 of 35
Debtor          Miller Concrete Construction and Associates LLC                                                     Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $23,560.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                              $23,560.00          + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $23,560.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 4
            Case 23-51315-pwb                        Doc 1         Filed 02/08/23 Entered 02/08/23 13:49:08                                 Desc Main
                                                                  Document      Page 12 of 35
Fill in this information to identify the case:

Debtor name          Miller Concrete Construction and Associates LLC

United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
2.1    Citizens Bank                                Describe debtor's property that is subject to a lien                   $48,655.00                $47,000.00
       Creditor's Name                              2019 GMC Sierra SLT 92,000 miles
       Attention: ROP-15B                           Location: 1681 Nordic Trace, Marietta, GA
       1 Citizens Drive                             30068
       Providence, RI 02940
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
       July 2021                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6411
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.           $48,655.00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1
            Case 23-51315-pwb                       Doc 1       Filed 02/08/23 Entered 02/08/23 13:49:08                                         Desc Main
                                                               Document      Page 13 of 35
Fill in this information to identify the case:

Debtor name        Miller Concrete Construction and Associates LLC

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF GEORGIA

Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                     $0.00      $0.00
          Georgia Department of Revenue                        Check all that apply.
          Compliance Div-ARCS-Bankruptcy                          Contingent
          1800 Century Blvd NE, Ste 9100                          Unliquidated
          Atlanta, GA 30345-3202                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
          2022                                                 Notice Purposes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                     $0.00      $0.00
          Internal Revenue Service                             Check all that apply.
          Centralized Insolvency Oper.                            Contingent
          P. O. Box 7346                                          Unliquidated
          Philadelphia, PA 19101-7346                             Disputed

          Date or dates debt was incurred                      Basis for the claim:
          2022                                                 Notice Purposes Only
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 5
                                                                                                               34080
           Case 23-51315-pwb                  Doc 1         Filed 02/08/23 Entered 02/08/23 13:49:08                                     Desc Main
                                                           Document      Page 14 of 35
Debtor      Miller Concrete Construction and Associates LLC                                 Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $44,756.00
         Ally Financial Inc.                                          Contingent
         Ally Detroit Center                                          Unliquidated
         500 Woodward Avenue                                          Disputed
         Detroit, MI 48226
                                                                                 2019 GMC 2500 Duramax
                                                                   Basis for the claim:
         Date(s) debt was incurred 2021
                                                                   Truck Repossession
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $39,370.18
         Aluma Systems                                                Contingent
         5240 East Great SW Pkwy                                      Unliquidated
         Atlanta, GA 30336                                            Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim:    Business Vendor, Metal Forms for Walls
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Ariel Bouskila Esq.                                          Contingent
         Berkovitch & Bouskila PLLC                                   Unliquidated
         80 Broad St, Suite 3303                                      Disputed
         New York, NY 10004
                                                                                  Attorney for Newco Capital Group VI LLC
                                                                   Basis for the claim:
         Date(s) debt was incurred 2022
                                                                   Judgment Creditor
         Last 4 digits of account number 2022                      Notice Purposes
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Ariel Bouskila Esq.                                          Contingent
         Berkovitch and Bouskila, PLLC                                Unliquidated
         80 Broad St, Suite 3303                                      Disputed
         New York, NY 10004
                                                                                  Attorney for Judgment Creditor
                                                                   Basis for the claim:
         Date(s) debt was incurred 2022
                                                                   Notice Purposes
         Last 4 digits of account number 2022
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $80,000.00
         B & B Concrete of Kansas LLC                                 Contingent
         10025 Office Center Avenue                                   Unliquidated
         Sappington, MO 63128                                         Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim:    Subcontractor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,476.01
         Citibank - The Home Depot                                    Contingent
         Citicorp Credit BK Dept                                      Unliquidated
         PO Box 790034                                                Disputed
         Saint Louis, MO 63179
                                                                   Basis for the claim:    Charge Account
         Date(s) debt was incurred 2022
         Last 4 digits of account number 0027                      Is the claim subject to offset?     No       Yes


3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $83,000.00
         Fora Financial Advance LLC                                   Contingent
         519 8th Avenue 11th Floor                                    Unliquidated
         New York, NY 10018                                           Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim:    Merchant Cash Advance
         Last 4 digits of account number 2022
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 5
           Case 23-51315-pwb                   Doc 1        Filed 02/08/23 Entered 02/08/23 13:49:08                                     Desc Main
                                                           Document      Page 15 of 35
Debtor      Miller Concrete Construction and Associates LLC                                 Case number (if known)
            Name

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $21,158.27
         Forward Financing                                            Contingent
         53 State Street                                              Unliquidated
         20th Floor                                                   Disputed
         Boston, MA 02109
                                                                                 Unsecured Business Loan
                                                                   Basis for the claim:
         Date(s) debt was incurred   2022                          Merchant Cash Advance
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $16,000.00
         FrankCrum General Agency                                     Contingent
         100 South Missouri Avenue                                    Unliquidated
         Clearwater, FL 33756                                         Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim:    Workers Compensation Insurance
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $24,519.03
         FunBox                                                       Contingent
         6900 Dallas Parkway                                          Unliquidated
         Plano, TX 75024                                              Disputed
         Date(s) debt was incurred   2022                          Basis for the claim:    Merchant Cash Advance
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $155,901.24
         Newco Capital Group                                          Contingent
         1 Whitehall Street                                           Unliquidated
         Suite 200                                                    Disputed
         New York, NY 10004
                                                                                 Judgment
                                                                   Basis for the claim:
         Date(s) debt was incurred 2022
                                                                   Merchant Cash Advance Creditor
         Last 4 digits of account number    2022
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $4,605.11
         Ram Tool Construction Supply                                 Contingent
         4500 5th Avenue South                                        Unliquidated
         Bldg A                                                       Disputed
         Birmingham, AL 35222
                                                                   Basis for the claim:    Vendor
         Date(s) debt was incurred 2022
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $34,248.00
         SG Tiltwall Patchers                                         Contingent
         2327 Monroe Drive                                            Unliquidated
         Gainesville, GA 30507                                        Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim:    Subcontractor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $20,464.71
         Shell Gas Fleet                                              Contingent
         PO Box 639                                                   Unliquidated
         Portland, ME 04104                                           Disputed
         Date(s) debt was incurred   2022                          Basis for the claim:    Automotive Fuel
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 5
           Case 23-51315-pwb                  Doc 1         Filed 02/08/23 Entered 02/08/23 13:49:08                                     Desc Main
                                                           Document      Page 16 of 35
Debtor      Miller Concrete Construction and Associates LLC                                 Case number (if known)
            Name

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $100,000.00
         Stanley Austin Miller                                        Contingent
         1681 Nordic Trace                                            Unliquidated
         Marietta, GA 30068                                           Disputed
         Date(s) debt was incurred   2021 to Present               Basis for the claim:    Money owed to sole member.
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,059.81
         Sunbelt Rental Inc.                                          Contingent
         PO Box 409211                                                Unliquidated
         Atlanta, GA 30384                                            Disputed
         Date(s) debt was incurred   2022                          Basis for the claim:    Equipment Rentals
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $8,446.43
         Sunstate Equipment Co, LLC                                   Contingent
         5552 E Washington                                            Unliquidated
         Phoenix, AZ 85034                                            Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim:    Equipment Rentals
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Supreme Court NY, Ontario Cnty                               Contingent
         Clerk, Index # 133678/2022                                   Unliquidated
         27 N Main St                                                 Disputed
         Canandaigua, NY 14424
                                                                                  Judgment
                                                                   Basis for the claim:
         Date(s) debt was incurred 2022
                                                                   Notice Purposes
         Last 4 digits of account number 2022
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $691.00
         Truist / SunTrust                                            Contingent
         214 N Tryon St                                               Unliquidated
         Charlotte, NC 28202-1078                                     Disputed
         Date(s) debt was incurred 2022
                                                                                  Bank Account
                                                                   Basis for the claim:
         Last 4 digits of account number                           Overdrafted Account(s)
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $29,000.00
         Unique Funding Solution LLC                                  Contingent
         71 S. Central Avenue                                         Unliquidated
         Suite 200                                                    Disputed
         Valley Stream, NY 11580
                                                                                 Unsecured Business Loan
                                                                   Basis for the claim:
         Date(s) debt was incurred 2022
                                                                   Merchant Cash Advance
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $37,800.00
         United Rebar Solution                                        Contingent
         467 Roxbury Drive                                            Unliquidated
         Riverdale, GA 30274                                          Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim:    Subcontractor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 5
           Case 23-51315-pwb                      Doc 1        Filed 02/08/23 Entered 02/08/23 13:49:08                                          Desc Main
                                                              Document      Page 17 of 35
Debtor       Miller Concrete Construction and Associates LLC                                        Case number (if known)
             Name

3.22      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $13,664.47
          USA Ready Mix LLC                                                   Contingent
          PO Box 101868                                                       Unliquidated
          Birmingham, AL 35210                                                Disputed
          Date(s) debt was incurred 2022
                                                                           Basis for the claim:    Business Material Supplier
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.23      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $8,772.91
          White Cap L.P.                                                      Contingent
          PO Box 4944                                                         Unliquidated
          Orlando, FL 32802                                                   Disputed
          Date(s) debt was incurred   2022                                 Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                             0.00
5b. Total claims from Part 2                                                                           5b.   +    $                       724,933.17

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                          724,933.17




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 5
           Case 23-51315-pwb                  Doc 1       Filed 02/08/23 Entered 02/08/23 13:49:08                                 Desc Main
                                                         Document      Page 18 of 35
Fill in this information to identify the case:

Debtor name       Miller Concrete Construction and Associates LLC

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF GEORGIA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
         Case 23-51315-pwb                   Doc 1     Filed 02/08/23 Entered 02/08/23 13:49:08                               Desc Main
                                                      Document      Page 19 of 35
Fill in this information to identify the case:

Debtor name      Miller Concrete Construction and Associates LLC

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF GEORGIA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.2                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.3                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.4                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
           Case 23-51315-pwb                 Doc 1       Filed 02/08/23 Entered 02/08/23 13:49:08                                 Desc Main
                                                        Document      Page 20 of 35



Fill in this information to identify the case:

Debtor name         Miller Concrete Construction and Associates LLC

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF GEORGIA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                          $0.00
      From 1/01/2023 to Filing Date
                                                                                          Other


      From the beginning of the fiscal year to filing date:                               Operating a business                             $1,500,000.00
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $6,000,000.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
             Case 23-51315-pwb                Doc 1        Filed 02/08/23 Entered 02/08/23 13:49:08                                  Desc Main
                                                          Document      Page 21 of 35
Debtor       Miller Concrete Construction and Associates LLC                                    Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Newco Capital Group VI LLC               Suit for Breach of          Supreme Court of NY,                          Pending
              vs. Miller Concrete                      Contract                    Ontario County                                On appeal
              Construction and Associates              Merchant Cash               27 N Main St
                                                                                                                                 Concluded
              LLC, Stanley Austin Miller, et           Advance                     Canandaigua, NY 14424
              al.
              133678/2022

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address             Description of the gifts or contributions                 Dates given                             Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2
           Case 23-51315-pwb                  Doc 1      Filed 02/08/23 Entered 02/08/23 13:49:08                                Desc Main
                                                        Document      Page 22 of 35
Debtor        Miller Concrete Construction and Associates LLC                                    Case number (if known)




          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss          Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred               Dates               Total amount or
               the transfer?                                                                                                                       value
               Address
      11.1.    Coleman Legal Group, LLC
               11539 Park Woods Cirlce
               Suite 304                                                                                              February
               Alpharetta, GA 30005                     Attorney's Fees for Bankruptcy                                2023                     $2,500.00

               Email or website address
               www.ColemanLegalGroup.com

               Who made the payment, if not debtor?




      11.2.    Coleman Legal Group, LLC
               11539 Park Woods Circle
               Suite 304                                                                                              February
               Alpharetta, GA 30005                     Public Records Report                                         2023                        $167.00

               Email or website address
               www.ColemanLegalGroup.com

               Who made the payment, if not debtor?




      11.3.    Coleman Legal Group, LLC
               11539 Parkwoods Circle
               Suite 304                                                                                              February
               Alpharetta, GA 30005                     Court Filing Fee                                              2023                        $338.00

               Email or website address
               www.ColemanLegalGroup.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
           Case 23-51315-pwb                     Doc 1     Filed 02/08/23 Entered 02/08/23 13:49:08                                 Desc Main
                                                          Document      Page 23 of 35
Debtor      Miller Concrete Construction and Associates LLC                                      Case number (if known)




          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
           Case 23-51315-pwb                   Doc 1       Filed 02/08/23 Entered 02/08/23 13:49:08                                   Desc Main
                                                          Document      Page 24 of 35
Debtor      Miller Concrete Construction and Associates LLC                                      Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5
           Case 23-51315-pwb                   Doc 1      Filed 02/08/23 Entered 02/08/23 13:49:08                                     Desc Main
                                                         Document      Page 25 of 35
Debtor      Miller Concrete Construction and Associates LLC                                     Case number (if known)



           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Kevin Phillips                                                                                                     2021 to Present
                    K. L. Phillips Firm, LLC
                    200 Glen Eagles Ct
                    Suite 11B
                    Carrollton, GA 30117

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Stanley Austin Miller
                    1681 Nordic Trace
                    Marietta, GA 30068
      26c.2.        Kevin Phillips
                    K. L. Phillips Firm LLC
                    200 Glen Eagles Ct
                    Suite 11B
                    Carrollton, GA 30117

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6
           Case 23-51315-pwb                 Doc 1       Filed 02/08/23 Entered 02/08/23 13:49:08                                Desc Main
                                                        Document      Page 26 of 35
Debtor      Miller Concrete Construction and Associates LLC                                    Case number (if known)



             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Stanley Austin Miller                  1681 Nordic Trace                                   President, Sole Member,                 100%
                                             Marietta, GA 30068                                  Manager



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Stanley Austin Miller                                                                                February 2022
      .    1681 Nordic Trace                                                                                    through             Owner / Manager
             Marietta, GA 30068                       $56,000                                                   January 2023        Compensation

             Relationship to debtor
             President, Sole Member,
             Owner


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund

Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7
           Case 23-51315-pwb                  Doc 1        Filed 02/08/23 Entered 02/08/23 13:49:08                            Desc Main
                                                          Document      Page 27 of 35
Debtor      Miller Concrete Construction and Associates LLC                                     Case number (if known)



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         February 6, 2023

/s/ Stanley Austin Miller                                       Stanley Austin Miller
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   President, Sole Member, Sole Owner,
                                     Registered Agent

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8
            Case 23-51315-pwb                  Doc 1        Filed 02/08/23 Entered 02/08/23 13:49:08                               Desc Main
                                                           Document      Page 28 of 35
B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                             Northern District of Georgia
 In re       Miller Concrete Construction and Associates LLC                                                  Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     2,500.00
             Prior to the filing of this statement I have received                                        $                     2,500.00
             Balance Due                                                                                  $                         0.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. [Other provisions as needed]
             Representation of the debtor(s) at the first (1st) meeting of creditors. The client(s) have been informed and
             understand that certain tasks with the client's case, including but not limited to representation at the First
             Meeting of Creditors Hearing (341 Hearing) may be contracted out to attorneys that are not associate attorneys of
             Coleman Legal Group, LLC. Clients authorizes such delegations at the attorney's discretion.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding. Negotiations with secured creditors to reduce to market value; exemption
             planning; preparation, review, signing and filing of reaffirmation agreements and applications as needed;
             preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of liens on household goods;
             prepration and filing of motions to avoid liens / judgments on real property or personal propery; any court
             hearing(s) other than the Scheduled 341 Meeting of Credtiors; Rule 2004 Depositions; exemptions planning; any
             amendment to any document filed in the case; letters to credtiors or any other party of interest to the bankruptcy
             case after the discharge and closing of the case. Client(s) has/have entered into and signed an hourly rate
             attorney-client agreement. Clients' case is not flat rate in accordance with the signed attorney-client agreement.
         Case 23-51315-pwb                 Doc 1       Filed 02/08/23 Entered 02/08/23 13:49:08                             Desc Main
                                                      Document      Page 29 of 35
In re     Miller Concrete Construction and Associates LLC                                           Case No.
                                                  Debtor(s)

                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                       (Continuation Sheet)
                                                                CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

   February 6, 2023                                                      /s/ Danny Coleman, MBA, Atty
   Date                                                                  Danny Coleman, MBA, Atty 177427
                                                                         Signature of Attorney
                                                                         Coleman Legal Group, LLC
                                                                         11539 Park Woods Circle
                                                                         Suite 304
                                                                         Alpharetta, GA 30005
                                                                         (770) 282-7470
                                                                         attorney@dcolemanlaw.com
                                                                         Name of law firm
         Case 23-51315-pwb              Doc 1      Filed 02/08/23 Entered 02/08/23 13:49:08                    Desc Main
                                                  Document      Page 30 of 35




                                               United States Bankruptcy Court
                                                     Northern District of Georgia
 In re   Miller Concrete Construction and Associates LLC                                     Case No.
                                                                    Debtor(s)                Chapter     7




                                   VERIFICATION OF CREDITOR MATRIX


I, the President, Sole Member, Sole Owner, Registered Agent of the corporation named as the debtor in this case, hereby verify that

the attached list of creditors is true and correct to the best of my knowledge.




Date:     February 6, 2023                              /s/ Stanley Austin Miller
                                                        Stanley Austin Miller/President, Sole Member, Sole Owner,
                                                        Registered Agent
                                                        Signer/Title
    Case 23-51315-pwb   Doc 1    Filed 02/08/23 Entered 02/08/23 13:49:08   Desc Main
                                Document      Page 31 of 35


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                        Ally Financial Inc.
                        Ally Detroit Center
                        500 Woodward Avenue
                        Detroit, MI 48226



                        Aluma Systems
                        5240 East Great SW Pkwy
                        Atlanta, GA 30336



                        Ariel Bouskila Esq.
                        Berkovitch & Bouskila PLLC
                        80 Broad St, Suite 3303
                        New York, NY 10004



                        Ariel Bouskila Esq.
                        Berkovitch and Bouskila, PLLC
                        80 Broad St, Suite 3303
                        New York, NY 10004



                        B & B Concrete of Kansas LLC
                        10025 Office Center Avenue
                        Sappington, MO 63128



                        Citibank - The Home Depot
                        Citicorp Credit BK Dept
                        PO Box 790034
                        Saint Louis, MO 63179



                        Citizens Bank
                        Attention: ROP-15B
                        1 Citizens Drive
                        Providence, RI 02940



                        Fora Financial Advance LLC
                        519 8th Avenue 11th Floor
                        New York, NY 10018
Case 23-51315-pwb   Doc 1    Filed 02/08/23 Entered 02/08/23 13:49:08   Desc Main
                            Document      Page 32 of 35



                    Forward Financing
                    53 State Street
                    20th Floor
                    Boston, MA 02109



                    FrankCrum General Agency
                    100 South Missouri Avenue
                    Clearwater, FL 33756



                    FunBox
                    6900 Dallas Parkway
                    Plano, TX 75024



                    Georgia Department of Revenue
                    Compliance Div-ARCS-Bankruptcy
                    1800 Century Blvd NE, Ste 9100
                    Atlanta, GA 30345-3202



                    Internal Revenue Service
                    Centralized Insolvency Oper.
                    P. O. Box 7346
                    Philadelphia, PA 19101-7346



                    Newco Capital Group
                    1 Whitehall Street
                    Suite 200
                    New York, NY 10004



                    Ram Tool Construction Supply
                    4500 5th Avenue South
                    Bldg A
                    Birmingham, AL 35222



                    SG Tiltwall Patchers
                    2327 Monroe Drive
                    Gainesville, GA 30507
Case 23-51315-pwb   Doc 1    Filed 02/08/23 Entered 02/08/23 13:49:08   Desc Main
                            Document      Page 33 of 35



                    Shell Gas Fleet
                    PO Box 639
                    Portland, ME 04104



                    Stanley Austin Miller
                    1681 Nordic Trace
                    Marietta, GA 30068



                    Sunbelt Rental Inc.
                    PO Box 409211
                    Atlanta, GA 30384



                    Sunstate Equipment Co, LLC
                    5552 E Washington
                    Phoenix, AZ 85034



                    Supreme Court NY, Ontario Cnty
                    Clerk, Index # 133678/2022
                    27 N Main St
                    Canandaigua, NY 14424



                    Truist / SunTrust
                    214 N Tryon St
                    Charlotte, NC 28202-1078



                    Unique Funding Solution LLC
                    71 S. Central Avenue
                    Suite 200
                    Valley Stream, NY 11580



                    United Rebar Solution
                    467 Roxbury Drive
                    Riverdale, GA 30274



                    USA Ready Mix LLC
                    PO Box 101868
                    Birmingham, AL 35210
Case 23-51315-pwb   Doc 1    Filed 02/08/23 Entered 02/08/23 13:49:08   Desc Main
                            Document      Page 34 of 35



                    White Cap L.P.
                    PO Box 4944
                    Orlando, FL 32802
         Case 23-51315-pwb           Doc 1     Filed 02/08/23 Entered 02/08/23 13:49:08                    Desc Main
                                              Document      Page 35 of 35



                                           United States Bankruptcy Court
                                                 Northern District of Georgia
 In re   Miller Concrete Construction and Associates LLC                                 Case No.
                                                               Debtor(s)                 Chapter     7




                              CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Miller Concrete Construction and Associates LLC in the above captioned action,
certifies that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly
own(s) 10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under
FRBP 7007.1:



  None [Check if applicable]




February 6, 2023                                  /s/ Danny Coleman, MBA, Atty
Date                                              Danny Coleman, MBA, Atty 177427
                                                  Signature of Attorney or Litigant
                                                  Counsel for Miller Concrete Construction and Associates LLC
                                                  Coleman Legal Group, LLC
                                                  11539 Park Woods Circle
                                                  Suite 304
                                                  Alpharetta, GA 30005
                                                  (770) 282-7470
                                                  attorney@dcolemanlaw.com
